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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 20-62687-CIV-SINGHAL/VALLE

  JENNIE MARTINEZ,

        Plaintiff,

  vs.

  KILOLO KIJAKAZI, Acting
  Commissioner of Social Security,

      Defendant.
  ___________________________/

                            ORDER ADOPTING MAGISTRATE JUDGE’S
                               REPORT AND RECOMMENDATION

         THIS MATTER is before the Court upon Defendant’s Unopposed Motion for Entry

  of Judgment with Reversal and Remand of the Cause to the Defendant (the “Motion”) (DE

  [26]), which was referred to the magistrate judge for Report and Recommendation. The

  magistrate judge issued a Report and Recommendation (DE [27]) on January 17, 2022,

  recommending that the Motion be granted. The Court has reviewed the entire file and

  record and has made a de novo review of the issues. No objections to the magistrate

  judge’s Report and Recommendation having been filed, it is hereby

         ORDERED AND ADJUDGED as follows:

              1. The Motion is GRANTED.

              2. The Commissioner’s decision is REVERSED, and the case is REMANDED

                     to the Commissioner with instructions for an ALJ to conduct a new hearing

                     and issue a decision, fully discussing the persuasiveness and supportability

                     of each medical opinion.
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           3. The Clerk of Court is directed to CLOSE the case, and all pending motions

               are DENIED AS MOOT.



        DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 23rd day of

  June 2022.




  Copies furnished counsel via CM/ECF




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